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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________
CHRISTOPHER GODSON, on behalf of
himself and all others similarly situated,
                                           No. 11-CV-764(EAW)(HKS)
                            Plaintiff,

               -AGAINST-                                  DECLARATION OF
                                                           KEVIN MALLON

ELTMAN, ELTMAN & COOPER, P.C. and
LVNV FUNDING, LLC,

                      Defendants.
__________________________________________


       KEVIN C. MALLON, declares under penalties of perjury, pursuant to 28 USC § 1746,

that the following is true and correct.

       1.      I am a member of the Mallon Consumer Law Group, PLLC.

       2.      I am licensed to practice law in New York, as well as the Southern District of

New York, Eastern District of New York and the Second Circuit Court of Appeals.

       3.      This declaration is offered in support of the plaintiff’s Motion for Final Approval

and Attorney Fees.

       4.      I have practiced exclusively consumer protection law since graduating law school

in 1999, and my current practice focuses on bringing claims under the Fair Debt Collection

Practices Act and Fair Credit Reporting Act.

       5.      My office is in Manhattan and I regularly litigate in federal court.

       6.      Accordingly, I am familiar with the billing rates and practices of attorney’s

handling complex litigation in New York federal courts.




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       7.      My typical billing rate for FDCPA cases is $500/hour and I have significantly less

experience in the area than Mr. Bromberg. I have had multiple clients pay me that hourly rate out

of pocket for FDCPA or similar work.

       8.      I am also familiar with the work and reputation of Brian L. Bromberg, and I have

known Mr. Bromberg for at least 15 years.

       9.      Mr. Bromberg is recognized and respected as a consumer-protection attorney. He

is responsible for much of the leading case law in the area and he is often involved in cutting-

edge FDCPA issues. He has also successfully litigated many FDCPA class actions, primarily in

New York but also in other states as well.

       10.     Mr. Bromberg is also nationally recognized as an expert on FDCPA law, and I

know of many attorneys, including myself, who consult with him when they have difficult

questions regarding application of the FDCPA.

       11.     I am not aware of any attorneys who regularly bring FDCPA class actions in the

Western District of New York. I would personally not bring any such actions in the WDNY due

to travel difficulties and related expenses of litigating such claims.

       12.     Based on my experience and knowledge of attorney billing for New York FDCPA

cases Mr. Bromberg’s requested rate of $550/hour is reasonable based on his experience, the

quality of his work product, and his effectiveness in litigating FDCPA cases.

       13.     While I do not know the other attorneys from Mr. Bromberg’s office well, I

believe that the high quality of the work consistently produced by Mr. Bromberg’s office

warrants $400/hour for Michael Litrownik, Esq. and for Jonathan Miller, Esq.

Dated: New York, New York
       September 17, 2018
                                               ___________________________________
                                                     KEVIN C. MALLON

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